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Application GRANTED. The settlement conference currently scheduled for January 19, 2021, at 2:15 p.m. is
ADJOURNED to May 18, 2021, at 2:15 p.m. The parties' confidential settlement letters, as directed in the Court's
December 2, 2019 Order Scheduling Settlement Conference (Dkt. No. 94), shall be submitted no later than May 11,
2021. The other provisions in the December 2, 2019 Order and the Court's Order dated September 22, 2020 (Dkt. No.
117) remain in effect. SO ORDERED.

_________________________
Barbara Moses, U.S.M.J.
January 11, 2021
                   Re: DoubleLine Capital, LP v. CNO S.A., No. 17-cv-4576-GHW-BCM

               Dear Judge Moses:

               We represent CNO S.A., Odebrecht Engenharia E Construção S.A. and Odebrecht S.A. -
       Em Recuperação Judicial (collectively, the “Defendants” and together with the plaintiffs in the
       above-captioned action (the “Plaintiffs”), the “Parties”) in the above-captioned action. Pursuant
       to paragraph 2.A of this Court’s Individual Rules of Practice (“Individual Practices”), we write to
       respectfully request that the Court adjourn the settlement conference scheduled for January 19,
       2021 until after the close of fact discovery, set for May 1, 2021. See ECF No. 88.

               As Your Honor knows, discovery remains in the early stages. Given the preliminary
       nature of the factual record, and the Parties’ ongoing efforts to develop the record, we believe the
       Court’s involvement in settlement discussions would be more effective at a later date. 1

               We have conferred with Plaintiffs, who consent to this request, and have sought guidance
       from Your Honor’s Chambers that the Court may be available during the week of May 17, 2021.
       This is the second request for an adjournment of the settlement conference. This request would
       not affect any other deadlines set by the Court.
                                                           Respectfully Submitted,


                                                           Thomas S. Kessler

       Cc: All counsel of record (via ECF)

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        The Parties have engaged in preliminary settlement discussions and expect to continue those discussions when and
       as appropriate in the future.
